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              EXHIBIT 10
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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

___________________________________________
                                            )
SECURITIES AND EXCHANGE COMMISSION,         )
                                            )
                  Plaintiff,                )
                                            )
      v.                                    )               Case No. 3:15-CV-1760-JAM
                                            )
HOMERO JOSHUA GARZA,                        )
GAW MINERS, LLC, and                        )
ZENMINER, LLC (d/b/a ZEN CLOUD),            )
                                            )
                  Defendants.               )
___________________________________________ )


                      DECLARATION OF TREVOR T. DONELAN

       I, Trevor T. Donelan, pursuant to 28 U.S.C. §1746, hereby declare as follows:

       1.      Since September 2014, I have been employed as an Enforcement Accountant

with the U.S. Securities and Exchange Commission (“the Commission”) in its Boston

Regional Office. My duties include conducting investigations relating to potential

violations of the federal securities laws.

       2.      I received a Bachelor of Science degree in business administration, with a

concentration in accounting, from the University of Richmond in Virginia in 2000. Before

joining the Commission, I was most recently a managing director in the forensic accounting

and complex business litigation unit at StoneTurn Group, LLP (“StoneTurn”), in Boston,

where I worked for over seven years. Before joining StoneTurn, I held forensic accounting

and auditor positions for a total of approximately seven years with Deloitte Financial

Advisory Services LLP, and Arthur Andersen LLP, both in Boston.




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       3.      I am a Certified Public Accountant in the Commonwealth of Massachusetts,

and a Certified Fraud Examiner by the Association of Certified Fraud Examiners. I am also

Certified in Financial Forensics by the American Institute of Certified Public Accountants.

       4.      I make this Declaration based upon my personal knowledge and upon

information and belief as set forth below, and in support of the Commission’s motion for

default judgment against defendants GAW Miners, LLC (“GAW Miners”) and ZenMiner,

LLC (“ZenMiner”). Beginning in the spring of 2015, I became part of the team of

Commission employees conducting an investigation into GAW Miners to determine

whether there had been violations of any federal securities laws.

       5.      During the course of the Commission’s investigation into GAW Miners,

various bank records and accounting records were produced to the Commission.

ZenMiner’s one bank account had extremely limited activity (transactions totaling $28), and

it appears that ZenMiner did not maintain separate accounting records.

       6.      During the course of the Commission’s investigation into GAW Miners, a

copy of the database that GAW Miners and ZenMiner used to operate the ZenCloud website

(the “ZenCloud Database”) was produced to the Commission. The ZenCloud Database was

produced to the Commission by a former employee of GAW Miners whose responsibilities

included using that database. The ZenCloud Database is a Microsoft SQL (“SQL”) database

which is a relational database program that is sold commercially.

       7.      After I received the ZenCloud Database, I participated in a number of

telephone conversations with the former employee from whom the Commission received the

database. During those conversations, the former employee described how the data in the

ZenCloud Database was compiled, what the various tables and fields in the database meant,




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and how the tables and fields in the database related to one another. The former employee

also described to me how GAW Miners and ZenMiner had used the ZenCloud Database to

operate the ZenCloud website and the Hashlets.

          8.    Based on my conversations with the former employee who produced the

ZenCloud Database to the Commission, and with other former GAW Miners and ZenMiner

employees, it is my understanding that the ZenCloud Database obtained by the Commission

contains the most reliable and complete data about defendants’ sales of Hashlets, about

payouts credited to Hashlet owners, and about maintenance fees charged to Hashlet owners,

because it contains the data that defendants themselves used to operate the ZenCloud

website and Hashlets.

          9.    The ZenCloud Database produced to the Commission is very large. It

consists of 29 tables containing approximately 45 million records. Because of its size, and

the amount of personally identifiable information about Hashlet customers it contains, it

would be technologically challenging to produce the complete database to the Court for its

review.

          10.   I was asked by other Commission staff working on this matter to calculate

the following numbers: 1) the amount that investors paid to purchase Hashlets, 2) the

amount that was credited to investors’ ZenCloud accounts as payouts from their Hashlets

from purported mining operations, and 3) the amount that was deducted from Hashlet

investors’ ZenCloud accounts as maintenance or service fees for their Hashlets.

          11.   Another Commission employee who has expertise with using SQL, working

under my supervision, queried the ZenCloud Database to isolate: 1) data that would show

defendants’ revenues from sales of Hashlets; 2) data that would show daily payouts earned




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by Hashlet owners; and 3) service or maintenance fees that were charged to Hashlet owners.

I understand the queries that were submitted to the ZenCloud Database, and I have reviewed

the data retrieved by those queries.

       12.     I then summarized the data retrieved by those queries into the following

table. The line labeled Hashlet Sales shows, on a monthly basis, the revenues that

defendants earned from selling Hashlets, for a total of $20,755,203 in revenues. The line

labeled Hashlet Payouts (Gross) shows, on a monthly basis, the amount that Hashlet account

owners earned for their Hashlets’ purported mining activity via credits added to their

Hashlet ZenCloud accounts, for a total of $15,336,090. The line labeled Hashlet Service

Fees shows, on a monthly basis, daily fees that were charged to Hashlet owners and

deducted from each Hashlet’s ZenCloud account, for a total of $4,659,218. I subtracted the

numbers in the Hashlet Service Fees line from the numbers in the Hashlet Payouts (Gross)

line to arrive at the numbers in the Hashlet Payouts (Net) line. I then subtracted the Hashlet

Payouts (Net) line from the Hashlet Sales line to arrive at the line labeled Disgorgement. I

calculated the total disgorgement number for the time period from August to December

2014 to be $10,078,331.




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       13.     The Commission’s standard practice is to seek prejudgment interest on a

defendant’s disgorgement obligation calculated in the same manner that the Internal

Revenue Service uses to calculate tax over-payments or under-payments. Applying that

methodology and calculating the prejudgment interest starting on December 31, 2014, and

ending on December 31, 2015 (the last day of the last quarter prior to today), I calculated

$305,768 in prejudgment interest on the amount of $10,078,331. A table supporting my

prejudgment interest calculation is attached as Exhibit 1.

       14.     The sum of the total disgorgement figure I calculated ($10,078,331) and the

prejudgment interest I calculated ($305,768) is $10,384,099.



       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

       Executed on February 12, 2016, in Boston, Massachusetts.



                                                     /s/ Trevor T. Donelan
                                                     Trevor T. Donelan




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